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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION
Margo Clark, individually and on behalf of all                1:22-cv-01591
others similarly situated,
                                 Plaintiff,

                   - against -
                                                           Hon. Jorge L. Alonso

Blue Diamond Growers,
                                 Defendant



                        Plaintiff’s Memorandum of Law in Opposition to
                                  Defendant’s Motion to Compel
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                                           INTRODUCTION

        Plaintiff Margo Clark (“Plaintiff”) submits this Memorandum of Law, Declaration of

Margo Clark (“Clark Decl.”), and Declaration of Spencer Sheehan (“Sheehan Decl.”) in

Opposition to the Motion by Blue Diamond Growers (“Defendant”) to Compel. ECF No. 67,

Memorandum of Law in Support of Motion to Compel (“Def. Mem.”).

                                   FACTUAL BACKGROUND

        Plaintiff bought almonds she believed were made through a smoking process. Upon

learning this was false, she filed suit.

        During discovery, Plaintiff responded to Defendant’s First Set of Requests for Admission.

Ten requests were directed to her personal knowledge, mainly based on facts relevant to her

purchase of the Product, and the labeling itself. ECF No. 68-2, RFA Nos. 1, 2, 3, 4, 15, 17, 18, 19,

20, 21 (“Non-Contested RFAs”).

        The remaining fourteen sought her admission about (1) Defendant’s pricing practices, (2)

the relationship between retailers, distributors, and manufacturers, (3) prices of smoked almonds

she never alleged to have bought, in cities she never alleged she visited, and (4) the existence of

seasoning products, by companies not parties to this action. ECF No. 68-2, RFA Nos. 5, 6, 7, 8, 9,

10, 11, 12, 13, 14, 16, 22, 23, and 24 (“Contested RFAs”).

        During the first meet-and-confer, Plaintiff’s Counsel confirmed that Plaintiff’s “reasonable

inquiry,” as a consumer and named plaintiff, was based on “information [she] knows or can readily

obtain.” ECF No. 68-4 at 9-15.

        Defendant switched gears, demanding that Plaintiff’s Counsel answer the Contested RFAs

as her purported “agent.” ECF No. 68-5.
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         Plaintiff responded that issues of agency, among other things, precluded her Counsel from

responding on her behalf. ECF No. 68-6 at 4-10. As Defendant’s demands and explanations of

what it sought expanded, so did her Counsel’s responses.

         Despite Plaintiff’s accurate and compliant responses to the Contested RFAs, Defendant

now asks the Court to “deem the Contested RFAs admitted or, alternatively, compel Plaintiff[’s]

[Counsel]” to answer based on their general knowledge. ECF No. 67 at 6.

                                     LEGAL STANDARDS

         Rule 36 of the Federal Rules of Civil Procedure provides that “[a] party may serve on any

other party a written request to admit, for purposes of the pending action only, the truth of any

matters within the scope of Rule 26(b)(1) relating to: (A) facts, the application of law to fact, or

opinions about either; and (B) the genuineness of any described documents.” Fed. R. Civ. P.

36(a)(1).

         When a “challenge to sufficiency of responses is made under Rule 36, it is the party

opposing the challenge that has the burden of persuasion to show that the response to the request

is sufficient.” Climco Coils Co. v. Siemens Energy & Automation, Inc., No. 04-cv-50342, 2006

WL 850969, at *1 (N.D. Ill. Mar. 28, 2006). What matters is “the specificity of the response; not

the response's accuracy.” Climco Coils Co., 2006 WL 850969, at *1.

         Should “a party believe[] a response to a request to admit is incorrect, the appropriate

remedy under Rule 26 is to prove the matter at trial, and then apply to the court for reasonable

expenses, including reasonable attorney fees, in making that proof.” Mayes v. City of Hammond,

Indiana, No. 03-cv-379, 2006 WL 2251877, at *2 (N.D. Ind. Aug. 1, 2006) quoting Climco Coils

Co., 2006 WL 850969, at *1 citing Wanke v. Lynn’s Transp. Co., 836 F. Supp. 587, 598 (N.D. Ind.

1993).



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                                           ARGUMENT

I.      PLAINTIFF’S “CLEAR AND UNEQUIVOCAL RESPONSE[S]” SUFFICIENT
        UNTIL TRIAL

        There is no dispute that Plaintiff timely responded to Defendant’s RFAs. In response to the

Contested RFAs, Plaintiff’s answers “state[d] in detail why [she] cannot truthfully admit or deny

it.” Fed. R. Civ. P. 36(a)(4).

        She “assert[ed] lack of knowledge and information as the reason for failing to admit or

deny” technical questions about marketing and pricing, having “made a reasonable inquiry [based

on] information [she] knows or can readily obtain.” ECF No. 68-4 compare with Fed. R. Civ. P.

36(a)(4) (“The answering party may assert lack of knowledge or information as a reason for failing

to admit or deny only if the party states that it has made reasonable inquiry and that the information

it knows or can readily obtain is insufficient to enable it to admit or deny.”).

        Defendant contends that the “reasonable inquiry” made by Plaintiff was insufficient, but

“Rule 36 does not provide for a pretrial hearing on whether the response is warranted by the

evidence thus far accumulated.” In re TFT-LCD (Flat Panel) Antitrust Litig., No. 07-md-1827,

2011 WL 3566419, at *3 (N.D. Cal. Aug. 12, 2011) quoting Fed. R. Civ. P. 37, Advisory

Committee Notes, 1970.

        As Plaintiff’s “response [] contains the proper detail ... the propounding party may not

challenge the denial on the ground that it is unsupported by the evidence.” In re TFT-LCD (Flat

Panel) Antitrust Litig., 2011 WL 3566419, at *3 quoting Wright, et al., 8B Federal Practice and

Procedure § 2263 (3d ed. 2010) and 7 Moore's Federal Practice § 36.12 (2011) (“Rule 36 does not

authorize the court to make determinations on the accuracy of responses before trial.”).

        Second, the Contested RFAs “are replete with terms of legal significance; although these

requests do not necessarily call for legal conclusions, they do force these lay[wo]men to assent to


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sentences containing terms which might be beyond their full comprehension.” Meese v. Eaton Mfg.

Co., 35 F.R.D. 162, 165 (N.D. Ohio 1964) (sustaining objections as to requests for admission based

on knowledge of individual plaintiffs)

         Third, the Contested RFAs “are not simple and concise statements of fact,” but require

detailed knowledge of facts beyond what Plaintiff knows. Dubin v. E.F. Hutton Grp., 125 F.R.D.

372, 374 (S.D.N.Y. 1989).

         Fourth, Plaintiff’s responses went beyond the “bland assertion of lack of knowledge…[to]

meet the required specificity of Rule 36(a)(4),” because “[the] details in [her] answers about the

‘reasonable inquiry’ [she] undertook” was based on “the information [she] knows or can readily

obtain [which] [wa]s insufficient to enable her to admit or deny” the Contested RFAs. Def. Mem.

at 14 quoting Patterson v. Burge, No. 03-cv-4433, 2008 WL 4875948, at *5 (N.D. Ill. July 29,

2008) and Bosman Trucking, 2021 WL 4498653, at *3; ECF No. 68-4.

         Over several months, Plaintiff’s Counsel “provide[d] explanation that contextualize[d]

[the] challenged response[s].” Keralink Int’l, Inc. v. Stradis Healthcare, LLC, No. 18-cv-2013,

2021 WL 1198150, at *5 (D. Md. Mar. 30, 2021).

         In this circumstance, “Relief [is] inappropriate [since] the request[s] ‘breed[] additional

litigation because [Defendant] is dissatisfied with [Plaintiff’s] [] answer[s].” Nat'l Semiconductor

Corp. v. Ramtron Int'l Corp., 265 F. Supp. 2d 71, 74 (D.D.C. 2003).

II.      “REASONABLE INQUIRY” DID NOT REQUIRE PLAINTIFF TO SCOUR
         PACER OR STORE SHELVES

         The “the standard of ‘reasonable inquiry’ under Rule 36 is a relative standard depending

on the particular facts of each case.” Waldrup v. Countrywide Fin. Corp., No. 13-cv-08833, 2019

WL 7943470, at *3 (C.D. Cal. July 17, 2019) quoting Dubin, 125 F.R.D. at 374. For numerous




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reasons, Defendant’s authority is inapposite, as it seeks to graft standards from different types of

cases, with different types of plaintiffs, to the present facts.

        First, “A ‘reasonable inquiry is limited to review and inquiry of those persons and

documents that are within [Plaintiff’s] control.” Whole Woman’s Health All. v. Hill, No. 18-cv-

01904, 2020 WL 1028040, at *5 (S.D. Ind. Mar. 2, 2020) quoting Hanley v. Como Inn, Inc., No.

99-cv-1486, 2003 WL 1989607, at *2 (N.D. Ill. Apr. 28, 2003); Hopfinger v. City of Nashville,

Illinois, No. 18-cv-1523, 2020 WL 1169342, at *2 (S.D. Ill. Mar. 11, 2020) quoting Hanley, 2003

WL 1989607, at *2 citing T. Rowe Price Small-Cap Fund, Inc. v. Oppenheimer & Co., Inc., 174

F.R.D. 38, 43 (S.D.N.Y. 1997).

        Second, unlike in Stingley, Johnson, and Lambert, where the information sought to be

admitted was information within those plaintiffs’ possession and knowledge i.e., “the[ir] driving

routes and their frequency” and “whether certain items were found in [p]laintiff’s cell during a

search,” the “reasonable inquiry” required of Plaintiff “[wa]s limited to review and inquiry of those

persons and documents that are within [her] control.” Def. Mem. at 14 citing Stingley v. Laci

Transp., Inc., No. 18-cv-6221, 2021 WL 4980084, at *3 (N.D. Ill. Jan. 14, 2021), Johnson v.

Bosman Trucking, Inc., No. 19-cv-2066, 2021 WL 4498653, at *3 (N.D. Ill. Jan. 14, 2021) and

Lambert v. Owens, No. 99-cv-50076, 2002 WL 1838163, at *2 (N.D. Ill. Aug. 9, 2002).

        Third, the plaintiffs in Patterson and Bosman Trucking were asked to admit facts about

personal experiences, including being “falsely imprison[ed], maliciously prosecute[d]; []

deprive[d] [] of [] Constitutional rights,” and their “driving routes and their frequency.” Patterson,

2008 WL 4875948, at *4 citing RFA Nos. 37 and 38) and Bosman Trucking, 2021 WL 4498653,

at *3. The Non-Contested RFAs about Plaintiff’s personal experiences are not at issue, because

she answered those in a way that cannot be disputed.



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       In Bowles, the plaintiff sought to confirm that “‘[defendant]’ said that there was nothing

that the Healthcare Unit could do until [plaintiff] was actually having a seizure,” and because the

responding party “d[id] not explain what reasonable inquiry she made or what readily available

information she consulted,” the motion to compel was granted. Bowles v. Dorethy, No. 16-cv-

4121, 2019 WL 2305139, at *1 (C.D. Ill. May 30, 2019).

       In Loudermilk, the plaintiff refused to admit “the genuineness of [specific] documents,”

which is “usually straightforward.” Loudermilk v. Best Pallet Co., LLC, No. 08-cv-06869, 2009

WL 3272429, at *3 (N.D. Ill. Oct. 8, 2009) (granting motion to compel response to requests for

admission where “[p]laintiff has gathered evidence relevant to the assertions set forth in the

requests.”).

       For these reasons, the court in Cada denied, “in principal part,” a motion to compel further

responses by passengers against a cruise ship company, as it would have required that defendant

to “engag[e] in research and pursuing other leads that-in the context of this litigation-are apt

subjects for investigation by [the requesting party].” Cada v. Costa Line, Inc., 95 F.R.D. 346, 348

(N.D. Ill. 1982).

       Like in Cada, Defendant seeks “to thrust on [Plaintiff], as a condition of making a good

faith statement of ‘reasonable inquiry’ under Rule 36(a), the burden of doing [Defendant’s] job for

them,” which is prohibited, with respect to its pricing and sales practices. Cada, 95 F.R.D. at 348.

       To the extent answers to Defendant’s requests may be responded to by relying on

documents supplied to Plaintiff in discovery, “reliance on documentation of facts outside the

requests themselves are generally considered improper.” Vergara v. City of Waukegan, No. 04-cv-

6586, 2007 WL 3334501, at *2 (N.D. Ill. Nov. 6, 2007) (denying motion to compel responses to




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RFAs because “it is evident the defendants would not be required to reference all 530 applications

to either admit, deny, say they do not know, or explain why they cannot answer.”).

        Since “facts admitted in an answer to a request for admission should be ascertainable by

examination of the request,” and the Contested RFAs are bereft of such facts or even specific

documents attached thereto, Plaintiff’s responses should be sustained. Vergara, 2007 WL

3334501, at *2.

        Finally, Defendant’s requirement, that a named plaintiff in a case about false labeling is

required to scour Pacer, and hone her knowledge of marketing and retail practices, while going to

stores with a pencil and notebook, writing down prices of other products she never bought, would

immediately render her “atypical,” and not representative of the class of purchasers she seeks to

represent, even if she was capable of doing these things.

III.    PLAINTIFF’S COUNSEL IS NOT HER “AGENT” IN TRADITIONAL SENSE

        Defendant’s attempt to invoke “agency” in the context of this proposed class action, albeit

pre-certification, overlooks that “Principles of agency applicable in the single-attorney-single-

client relationship cannot be transposed into the class action context under present circumstances.”

Def. Mem. at 11-14 citing Stark-Romero v. Nat’l R.R. Passenger Co., 275 F.R.D. 551, 558

(D.N.M. 2011), Treister v. PNC Bank, 2007 WL 521935, at *2 (S.D. Fla. Feb. 15, 2007) and

Taborn v. Unknown Officers, No. 00-cv-652, 2001 WL 138908, at *2 (N.D. Ill. Feb. 16, 2001)

compare with L.I. Head Start Child Dev. Servs., Inc. v. Econ. Opportunity Comm’n of Nassau Cty.,

Inc., 710 F.3d 57, 67 (2d Cir. 2013) citing Schwab v. Philip Morris USA, Inc., No. 04-cv-1945,

2005 WL 2467766, at *4 (E.D.N.Y. Oct. 6, 2005) quoting Restatement (Third) of the Law

Governing Lawyers § 14 cmt. f (“Class actions may pose difficult questions of client

identification.”).



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       Defendant has described “plaintiff’s counsel [a]s an agent of plaintiff,” thus requiring her

responses to “include information in her counsel’s knowledge and possession.” Def. Mem. at 11

citing New Mexico ex rel. Balderas v. Real Est. L. Ctr., P.C., 405 F. Supp. 3d 1233, 1253 (D.N.M.

2019) (“A reasonable inquiry means that a party has to ask its counsel, and if its counsel knows

the response, the party needs to use that information to admit or deny.”) and Treister v. PNC Bank,

2007 WL 521935, at *2 (S.D. Fla. Feb. 15, 2007) (“[T]he current framework of the discovery rules

[] repeatedly requires the disclosure of information in discovery that is in the possession of the

parties themselves, their attorneys, or any other agent that they control.”).

       Defendant’s position “would be imputing [her attorney’s] knowledge to the [proposed]

plaintiff class,” a “principle [] developed in the context of individual clients, and [] should [not]

be applied in the same way for class actions.” In re Willis Towers Watson plc Proxy Litig., 937

F.3d 297, 309 (4th Cir. 2019) citing Link v. Wabash R.R. Co., 370 U.S. 626, 633-34 (1962).

       District courts considering similar issues “have generally declined to impute knowledge

from class counsel to class members unless that counsel had previously represented those class

members in related individual suits.” In re Willis Towers Watson plc Proxy Litig., 937 F.3d at 309

citing L.I. Head Start Child Dev. Servs., Inc. v. Econ. Opportunity Comm’n of Nassau Cty., Inc.,

558 F. Supp. 2d 378, 396-99 (E.D.N.Y. 2008), Schwab, 2005 WL 2467766, at *4 and Stieberger

v. Sullivan, 738 F. Supp. 716, 726-27 (S.D.N.Y. 1990). Plaintiff’s Counsel has not previously

represented Plaintiff Clark.

       Moreover, Plaintiff’s Counsel’s general knowledge was not “acquired while acting in

regard to” the present attorney-client relationship with Plaintiff Clark, but in the context of other

cases and generally. In re Uponor, Inc., F1807 Plumbing Fittings Prod. Liab. Litig., No. 11-md-

2247, 2012 WL 2325798, at *3 (D. Minn. June 19, 2012), aff’d, 716 F.3d 1057 (8th Cir. 2013)



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citing Armstrong v. Ashley, 204 U.S. 272, 283 (1907) (imputing knowledge only where it was

obtained “within the sphere of their duty”).

       The general agency rule is that “a principal is charged with the knowledge of the agent

acquired by the agent in the course of the principal's business.” First Nat. Bank of Cicero v. United

States, 625 F. Supp. 926, 931 (N.D. Ill. 1986), on reconsideration, 653 F. Supp. 1312 (N.D. Ill.

1987), on reconsideration in part, 664 F. Supp. 1169 (N.D. Ill. 1987), aff'd sub nom. First Nat.

Bank of Cicero v. Lewco Sec. Corp., 860 F.2d 1407 (7th Cir. 1988), and vacated sub nom. First

Nat. Bank of Cicero v. Lewco Sec. Corp., 860 F.2d 1407 (7th Cir. 1988) quoting Curtis v. United

States, 262 U.S. 215, 222 (1923).

       Defendant cannot “impute[] an attorney's knowledge to [] plaintiffs at a time [Plaintiff’s

Counsel] was not shown to have been employed by [her],” which means that if Plaintiff’s Counsel

learned information separately from representing Plaintiff Clark, it cannot be ascribed to this

attorney-client relationship. Schmitz v. Davis, No. 10-cv-4011, 2010 WL 3861843, at *6 (D. Kan.

Sept. 23, 2010) citing In re Edmonds, 110 B.R. 38, 40 (D. Kan. 1989) (“The law is well-settled

that the knowledge acquired by an attorney during the time he is acting within the scope of his

employment is imputed to the client.”).

                                          CONCLUSION

       For the foregoing reasons, the Court should deny Defendant’s Motion. In doing so, it

should not impose costs on Defendant.

Dated:          March 1, 2024
                                                           Respectfully submitted,

                                                           Sheehan & Associates P.C.
                                                           /s/Spencer Sheehan
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                                       Certificate of Service

I certify that on March 1, 2024, I served and/or transmitted the foregoing by the method below to
the persons or entities indicated, at their last known address of record (blank where not applicable).

                                      CM/ECF          First-Class         Email             Fax
                                                         Mail
 Defendant’s Counsel                     ☒                 ☐                ☐               ☐
 Plaintiff’s Counsel                     ☐                 ☐                ☐               ☐
 Courtesy Copy to Court                  ☒                 ☐                ☐               ☐


                                                            s/ Spencer Sheehan
